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                         IN THE UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                      )
                                               )
                         Plaintiff,            )
                                               )
       v.                                      )              Case No. 07-10180-06-WEB
                                               )                       09-1396
ANDREW S. WANG,                                )
                                               )
                     Defendant.                )

                                      MEMORANDUM AND ORDER

       Before the court is the defendant’ Motion to Vacate pursuant to 28 U.S.C. § 2255 (Doc.

334). The defendant argues his sentence should be vacated as his counsel was ineffective. The

defendant has made only conclusory allegations of ineffective assistance of counsel. At this

stage of the proceeding, the court does not intend to set a hearing. The defendant’s request for

an attorney is denied.

       The court is not required to consider unsupported, conclusory allegations. The defendant

must allege sufficient facts on which a recognized legal claim could be based. Hall v. Bellmon,

935 F.2d 1106, 1110 (10th Cir. 1991).      The defendant has not provided the court with a factual

basis or legal argument relating to his ineffective assistance of counsel claims. Although the

defendant is proceeding pro se, the court will not attempt to construct legal arguments or theories

for the defendant. Whitney v. New Mexico, 113 F.3d 1170, 1173-74 (10th Cir. 1997).

       For the above stated reasons, the defendant is granted 60 days from the date of this order

to supplement his Motion to Vacate pursuant to 28 U.S.C. § 2255 (Doc. 334) with factual and

legal support. Failure to supplement the motion with factual and legal support will result in the

court denying the motion.
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IT IS SO ORDERED this 18th day of December, 2009.



                                         s/ Wesley E. Brown
                                       Wesley E. Brown
                                       United States Senior District Court Judge
